     Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 1 of 18


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   CITY OF VACAVILLE
 8

 9                              UNITED STATES DISTRICT COURT
10               EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
11

12 CALIFORNIA RIVER WATCH,                    Case No. 2:17-cv-00524-KJM-KJN

13                 Plaintiff,                 DECLARATION OF ADAM LOVE
                                              IN SUPPORT OF DEFENDANT CITY OF
14          v.                                VACAVILLE’S MOTION FOR
                                              SUMMARY JUDGMENT
15 CITY OF VACAVILLE,
                                              [Filed Concurrently with Motion for
16                 Defendant.                 Summary Judgment; Separate Statement;
                                              Request for Judicial Notice; and Declarations
17                                            of Newmark and Boele]
18                                            Date:    March 8, 2019
                                              Time:    10:00 a.m.
19                                            Ctrm:    3

20                                            Trial Date:      Vacated

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           LOVE DECLARATION IN SUPPORT OF VACAVILLE’S MOTION FOR SUMMARY JUDGMENT
           Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 2 of 18



 1          I, Adam Love, declare as follows:
 2      1. I am a Vice President and Principal Scientist at Roux Associates with expertise in
 3   environmental forensics (source, timing, and divisibility of contaminant releases), site
 4   characterization, remediation, and contaminant transport analysis. I have a Ph.D in
 5   Environmental Engineering, a Master’s degree in Material Science and Mineral Engineering, and
 6   a Bachelor’s degree in Geoscience. I have over 20 years of relevant experience that includes the
 7   assessment and forensics of numerous sites throughout the United States, including sites with
 8   hexavalent chromium contamination. Attached hereto as Exhibit 15 is a true and correct copy of
 9   my most recent Curriculum Vitae.
10      2. I have been retained by the City of Vacaville in the above-captioned matter regarding the
11   source, impacts, and regulatory compliance of the hexavalent chromium concentrations observed
12   in the City of Vacaville drinking water supply. I have been asked to review and assess the
13   methodology described by Dr. Lawrence Russell in his October 5, 2018 Expert Report and his
14   November 1, 2018 Deposition that led him to conclude that the geology in the vicinity of the
15   City of Vacaville could not result in naturally-occurring hexavalent chromium at the
16   concentrations observed in groundwater measured by the City of Vacaville. Based on my
17   assessment, summarized below, Dr. Russell made fundamental errors in the reasoning and
18   methodology he used regarding the geologic underpinnings he used to support his opinion that
19   the geology in the vicinity of the City of Vacaville could not result in naturally-occurring
20   hexavalent chromium at the concentrations observed in groundwater measured by the City of
21   Vacaville. The facts contained herein are of my own personal knowledge and, if called as a
22   witness, I could and would competently testify thereto.
23      3. I reviewed the following list of documents related to this matter in preparation for this
24   declaration.
25              a. Expert Report of Dr. Larry Russell. California River Watch v. City of Vacaville
26                  October 5, 2018.
27              b. Deposition of Dr. Larry Russell. California River Watch v. City of Vacaville
28                  November 1, 2018.

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          DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
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 1              c. IETEG, Chromium(IV) Handbook, CRC 2004.
 2              d. Hausladen, et al., Hexavalent Chromium Sources and Distribution in California
 3                  Groundwater, Environ. Sci. Technol. 2018.
 4              e. Luhdorff & Scalmanini. Summary Report and Recommendations Midway-
 5                  Eubank Well Site Assessment City of Vacaville. September 2011.
 6              f. Thomasson, H.G., F.H. Olmsted, Jr., and E.F. LeRoux. 1960. Geology, Water
 7                  Resources and Usable Ground-water Storage Capacity of part of Solano County,
 8                  California. U.S. Geological Survey Water Supply paper WSP 1464.
 9      4. Hexavalent chromium, chromium (VI), and Cr (VI) are synonymous terms for the toxic
10   form of the chromium mineral, whereas chromium (III) is a non-toxic form of chromium.
11      5. Dr. Russell’s testimony disregards primary data that shows the potential for naturally-
12   occurring hexavalent chromium in Vacaville based on the geologic setting of Vacaville. Two of
13   the references relied upon by Dr. Russell detail that naturally-occurring hexavalent chromium
14   occurs because of the local serpentine rock geology in the vicinity of Vacaville.
15              a. “Serpentinite Ultramafic Terrains - Chromium (VI) has also be detected in
16          groundwater associated with serpentine terrains consisting of ultramafic rocks that do not
17          contain FeCr2O4 ore bodies. Widespread Cr (VI) concentrations in groundwater detected
18          in over 50% of the water supply wells downgradient of serpentinite terrains in Dixon,
19          Willows, Livermore, South San Francisco, and other California locations support the
20          interpretation that Cr (VI) is naturally occurring” (IETEG, page 97).
21              b. “The spatial distribution of groundwater Cr(VI) derived from oxidation of
22          geogenic Cr(III) appears to have many controls, with the Central Valley of California
23          serving as a prime example of a region where Cr(VI) distribution is governed by multiple
24          factors. Soils and sediments in western Sacramento Valley (the northern portion of
25          California’s Central Valley) are enriched in Cr and ultramafic-derived or
26          metamorphically derived equivalent rocks.” (Hausladen, p. 8243)
27              c. By ignoring this information in these reports, Dr. Russell appears to have been
28          selective in choosing only that data which makes his theory credible.

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          DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
           Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 4 of 18



 1              d. In fact, the geologic formation which the groundwater in Vacaville is sourced
 2          from, the Tahoma Formation, has been had documented to have 17% serpentine in the
 3          pebbles of the conglomerate layers. (Thomasson, 1960, p. 72). Based on his review and
 4          reliance upon the references quoted above, Dr. Russell’s geologic basis for claiming that
 5          the hexavalent chromium in the City of Vacaville’s drinking water supply is not naturally
 6          occurring does not rest on a reliable foundation and is not generally accepted in the
 7          scientific community. Dr. Russell asserts that the relevant geologic formations in the
 8          Vacaville area for assessing the potential for naturally-occurring hexavalent chromium
 9          are chromium ores but he does not discuss chromium-containing serpentine rocks as the
10          more relevant source of naturally-occurring hexavalent chromium in the City of
11          Vacaville. (Russell Expert Report, pp. 3-4.) His disregard for primary data appears to be
12          to avoid any conflict with his outcome.
13              e. It is inaccurate to state, as Dr. Russell does, that visible volcanos are necessary to
14          an area in order to create the relevant geologic setting (serpentine ultramafic terrain) for
15          naturally-occurring hexavalent chromium, when instead serpentine rocks are commonly
16          known by people with a basic geologic understanding to be a result of metamorphic
17          processes (heat and pressure) – not volcanic eruptions. In fact, a simple search on the
18          California Department of Conservation’s webpage on serpentine describes serpentine as a
19          metamorphic rock that is present in the Coast Ranges of Northern California.1 This theory
20          adopted by Dr. Russell, therefore, is not generally accepted in the scientific community.
21                      i. “Q.· ·At the bottom of that first paragraph, the Basis For Opinion 2, you
22                         say, “None of these geological formations make up the geology of the soil
23                         where Vacaville’s potable water wells are located.”· Do you see that?
24                         A.· ·Yes, sir.
25                         Q.· ·When you wrote “none of these geological formations,” are you
26                         referring only to the primary chromium ore?
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     1
28    California Department of Conversation. Serpentine: California’s State Rock.
     https://www.conservation.ca.gov/cgs/Pages/Publications/Note_14.aspx. Accessed December 18, 2018.

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          DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
     Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 5 of 18



 1                    A.· ·No.· It’s the ones that the volcanos cause, the magmatic sources.
 2                    Q.· ·So did you also mean the serpentinite ultramafic terrain?
 3                    A.· ·Yes.
 4                    Q.· ·So it’s your opinion that there are no serpentinite ultramafic terrains
 5                    that make up the geology of the soil where Vacaville’s potable water wells
 6                    are located?
 7                    A.· ·Volcanoes are very aggressive things, and they spew materials for
 8                    long ways.· I’m not aware of any volcanic activity in this area, direct.”
 9                    (Russell Deposition, 163:19-164-14)
10                ii. “Q.· ·And so would it be accurate to say you don’t believe that it’s proven
11                    that these mechanisms exist in nature?
12                    A.· ·At least in Vacaville.· Again, if we were next door to a volcano like
13                    in St. Helena, like in Shasta; it’s a different animal.· But we’re not next
14                    door to a volcano.· We’re a long ways.· The nearest volcano is clearly
15                    Mount St. Helens -- Mount St. Helena, and it’s 70 miles away.
16                    Q.· ·So would it be accurate to say that these mechanisms might exist in
17                    nature somewhere other than Vacaville?
18                    A.· ·Yes.
19                    Q.· ·Such as St. Helena?
20                    A.· ·Yes.
21                    Q.· ·And other areas with what kind of conditions?
22                    A.· ·Volcanos.· That’s what we’re talking about here.· All this mafic stuff,
23                    those are lava flows. That’s what we’re hinting for.· That’s the way ore
24                    deposits occur, is you have a volcano and the metals cool at a different
25                    rate than the rock.· That’s why you have veins of this kind of stuff.· That’s
26                    why you have outcroppings of serpentine.” (Russell Deposition, 195:4-
27                    196:1)
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     DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
     Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 6 of 18



 1        f. Dr. Russell’s expert testimony does not rest on a reliable foundation and has the
 2            potential for a high rate of error based on the fact that he does not have unique
 3            expertise in the geologic setting in the Vacaville area that would support his
 4            contradictions with the publications he relied upon that show the Vacaville area
 5            has the serpentine terrain that can result in naturally-occurring hexavalent
 6            chromium. In fact, Dr. Russell has not thoroughly investigated whether or not
 7            there are serpentine rocks in the Vacaville area and ignored the report of nearby
 8            serpentine outcrops described in the Luhdorff & Scalmanini 2011 Report he
 9            reviewed.
10                i. “Q.· ·Do you have an opinion on whether there are serpentine deposits in
11                    Vacaville?
12                    A.· ·I haven’t researched that issue.· Wasn’t asked to.” (Russell
13                    Deposition, 163:2-5)
14                ii. “Q.· ·So it’s your opinion that you’ve not seen any evidence that there are
15                    the serpentinite ultramafic terrains that make up the geology of the soil
16                    where Vacaville’s potable water wells are located, correct?
17                    A.· ·Correct.· I haven’t seen any outcroppings of serpentine.· In Marin, we
18                    have a lot of it, but I haven’t seen any around there.” (Russell Deposition,
19                    164:17-23)
20               iii. “An exposed outcrop in Solano County of the lower part of the Tehama
21                    Formation, serpentine and other rock types are observed” (Luhdorff &
22                    Scalmanini 2011, p. 10)
23        g. Professional standards in the field of geology require at least a basic
24            understanding of a place’s geology in order to opine on the geologic setting for
25            naturally occurring hexavalent chromium. Dr. Russell lacks even this basic
26            understanding of California geology to inform the basis for his opinions about the
27            necessary geologic setting for naturally-occurring hexavalent chromium, Dr.
28            Russell acknowledged in his deposition that serpentine rocks can be found in the

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 1                    Coast Range but was erroneous when he described the Coast Range as being far
 2                    away from the City of Vacaville. In fact, the Vaca Mountains (which the City of
 3                    Vacaville is named after) represent the easternmost of the Inner Coast Ranges,2
 4                         i. “Q.· ·If you go to page 140 of Exhibit 46, at the bottom it says, the last
 5                            sentence, “Serpentine is the state mineral of California and can be found in
 6                            the coast range as well as in the Sierra Nevada.”· Do you see that?
 7                            A.· ·Yes, sir.
 8                            Q.· ·Do you agree with that statement?
 9                            A.· ·Yes.
10                            Q.· ·How far is the coast range from Vacaville?
11                            A.· ·Forty miles.” (Russell Deposition, 164:24-165:8)
12                 h. While Dr. Russell attempted to revise his deposition testimony in his Errata to
13             more accurately describe the distance of the Coast Ranges to Vacaville as 4 miles, he
14             remains erroneous in his assertion that the documented serpentine minerals in the Coast
15             Ranges could not have eroded to form the soils in the vicinity of Vacaville, as, in fact,
16             there are no hills between the serpentine mineral sources in the nearby Coast Ranges and
17             the eroded soils of Vacaville.
18                         i. Q. Do you have an opinion as to whether serpentine minerals could have
19                            eroded from the coast range and moved down to the area where Vacaville
20                            is?
21                            A.· ·I think that would be a pretty tough trek. There’s hills in between.
22                            Q.· ·That’s a no?
23                            A. Yes, sir.” (Russell Deposition, 165:9-15)
24                 i. Dr. Russell asserts that the reported hexavalent chromium in the water supply
25             from “erosion of natural deposits” in the Marin Municipal Water District, where he is a
26             Director, is fundamentally different geologically than Vacaville. This statement is
27             inaccurate and appears to be a statement made in order to support his testimony and is not
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     2
         Vaca Mountain. https://en.wikipedia.org/wiki/Vaca_Mountains

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             DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
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 1           research that was conducted independent of this litigation. In reality both Marin and
 2           Vacaville are comparable Coast Range serpentine rock geologic settings. It is apparent
 3           that his research on this point is dependent on an intention to provide testimony that
 4           support his theories and not based on facts.
 5                       i. “Q.· ·So in the case of your own district, there’s detections of hexavalent
 6                          chromium above the public health goal in your public water supply
 7                          attributed to natural deposits and you’re not skeptical of that now, you
 8                          believe that’s accurate, correct?
 9                        A.· ·I don’t know.· I mean, it’s what we said.· We have ultramafic
10                        outcroppings everywhere.· As I told you earlier, southern Marin is a
11                        different cat.· Southern Marin actually came from Los Angeles.· It has been
12                        migrating up the San Andreas fault for billions of years.· Now it’s in Marin.·
13                        It is as different from the Central Valley as it can be.· It is not alluvial
14                        deposits.· It is pushed up mountains.· And we -- I can take you to a dozen
15                        serpentine outcrops right now.· It’s in our water supply, but this is not in
16                        what we serve to the public.· This is different.” (Russell Deposition, 207:2-
17                        17)
18       6. Dr. Russell repeated the basis for his conclusions was not site-specific information
19   reviewed or any disclosed analysis, but instead his subjective belief and unsupported speculation
20   judgment based on his experience working in the environmental field. The lack of Dr. Russell’s
21   knowledge and reliance on site-specific information for him to draw technical conclusions about
22   the origins and pathways for naturally-occurring hexavalent chromium is not grounded in the
23   methods and procedures of science and not the standard of practice in the environmental
24   industry. The experience Dr. Russell has in his head cannot be tested for its validity and
25   appropriateness, cannot be peer reviewed to accuracy, and cannot be evaluated for potential rates
26   of error.
27               a. “Q.· ·Dr. Russell, you had complete control over what you consulted in reaching
28                  your opinions in this case, correct?

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           DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
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 1                 A.· ·Yes.
 2                 Q.· ·And you know everything that you consulted in reaching your opinions in
 3                 this case, right?
 4                 A.· ·Well, that’s a little more complicated. Everything I relied on is on the disk.
 5                 Q.· ·Were there sources that you consulted but did not rely upon?
 6                 A.· ·Perhaps.
 7                 Q.· ·Can you give me a more precise answer than “perhaps”?
 8                 A.· ·I’m not sure.· I mean, this thing has gone on for a while, and it’s an
 9                 intellectual challenge to look at all of the various things.· I’ve been working with
10                 chromium for 40 years, exactly these kinds of issues for 40 years.· So I’ve
11                 collected a lot of information in my head.· I’ve provided what I relied on.”
12                 (Russell Deposition, 38:23-39:16)
13              b. “· Q.· ·How do you determine whether the evidence that you’re using as the basis
14                 of your opinion is credible enough to be relied upon?
15                 A.· ·Forty years of experience.
16                 Q.· ·And so in your 40 years of experience, each one of these documents and
17                 articles was credible enough for you to rely upon it for the purposes that you used
18                 it for; is that an accurate way of saying what you did?
19                 A.· ·Yes.” (Russell Deposition, 88:17-25)
20              c. “Q.· ·So your experience that you’re referencing here is to -- the evidence of
21                 reducing conditions is not evidence that was cited in the back of your expert
22                 report or was included in the materials provided on the thumb drive, this is
23                 evidence that’s in your head from your 40 years of experience; is that correct?
24                 A.· ·That’s correct, yes.” (Russell Deposition, 194:14-20)
25      7. Thus, even though the correct information about the serpentine rock geologic setting in
26   the vicinity of Vacaville was reviewed by Dr. Russell, and a basic understanding of California
27   geology and geography would also result in the correct information, about the serpentine rock
28   geologic setting in the vicinity of Vacaville, Dr. Russell’s methodology made fundamental errors

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          DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
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 1   geology and geography would also result in the correct information, about the serpentine rock
 2   geologic setting in the vicinity of Vacaville, Dr. Russell’s methodology made fundamental errors
 3   in the reasoning and methodology used regarding the geologic underpinnings to support his
 4   opinion that the geology in the vicinity of the City of Vacaville could not result in naturally-
 5   occurring hexavalent chromium at the concentrations observed in groundwater measured by the
 6   City of Vacaville.
 7          I declare under penalty of perjury under the laws of the State of California that the
 8   foregoing is true and correct. Executed this 10th day of January, 2019, in Oakland, California.
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                                                           Adam Love, Ph.D.
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          DECLARATION OF ADAM LOVE, PH.D., IN DEFENDANT’S MOTION IN LIMINE OF DR. LAWRENCE RUSSELL
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                     EXHIBIT 15
                 Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 12 of 18
                                                                                               Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
       TECHNICAL SPECIALTIES                                                   EXPERIENCE SUMMARY
       Dr. Love leads Roux’s Litigation Practice Group and provides            20+     years     of    experience      in    environmental
       forensic litigation support and expert witness services to              science/engineering, use of forensic signatures to determine
       clients throughout the United States on both environmental              source and timing of contamination, and contaminant
       litigation and environmental insurance coverage related                 assessment, transport and remediation.
       matters. Dr. Love’s experience includes strategic and technical
       analysis and guidance regarding numerous complex                        •   Roux Associates, Inc., Vice President, Litigation Practice
       groundwater, soil, sediment, soil vapor and air contaminated                Group Leader 2016-Present; Principal Scientist, 2013-
       sites. He has also provided expert technical guidance for state             Present.
       legislative actions and federal advisory panels on a range of           •   Johnson Wright Inc., Principal Scientist, Environmental
       traditional and non-traditional environmental hazards. Dr.                  Forensics Practice Leader 2009-2013.
       Love’s expertise has been developed through a unique variety
       of University, Federal and post-academia work, including                •   Lawrence Livermore National Laboratory, Principal
       developing leading-edge methods for addressing forensic                     Investigator/Scientist, Forensic Science Center, 2002-
       questions related to weapons of mass destruction for the                    2009.
       Federal Government.                                                     •   California Department of Health Services – Drinking
       Dr. Love’s areas of expertise include:                                      Water Program/Technical Programs Branch, Standards
                                                                                   and Technology Unit Staff, 2000-2002.
       •   Environmental forensics (identifying sources and timing
           of chemical releases);                                              •   University of California, Berkeley, Graduate Student
                                                                                   Researcher/Instructor, 1996-2002.
       •   Chemical/isotopic fingerprinting;
                                                                               •   Franklin   &    Marshall    College,    Undergraduate
       •   Contaminant transport/fate in sediments, soils, water,                  Researcher/Laboratory Teaching Assistant, 1994-1996.
           groundwater, and air;
                                                                               APPEARANCES AND EXPERT REPORTS
       •   Divisibility and apportionment of contamination among               • California River Watch v. City of Vacaville. United States
           PRPs;                                                                  District Court, Eastern District of California. Case No.
       •   Assessments of petroleum (crude oil, diesel, and gasoline),            2:17-cv-00524-KJM-KJN. Expert Report.
           chlorinated and other solvents (PCE, TCE, TCA, 1,4-                 •   220 W. Gutierrez, LLC v. Goss-Jewett & Co. Inc. et al.
           dioxane), pesticides, PCBs, PAHs, radionuclides,                        Santa Barbara County Superior Court. Case No. 17-CV-
           explosives and heavy metals;                                            05689. Expert Declaration.
       •   Environmental site characterization and remediation;
                                                                               •   Estate of Robert Renzel, Deceased et al. v. estate of Lupe
       •   Human (i.e. Toxic tort claims and Prop 65) and ecological               Ventura, Deceased, et al. United States District Court,
           exposure assessment; and,                                               Northern District of California. Case No. 4:15-cv-1648-
                                                                                   HSG. Deposition August 27, 2018. Expert Declaration.
       •   Environmental data analysis.
                                                                                   Expert Report. Rebuttal Report.
       Dr. Love’s capabilities include the use of advanced models
                                                                               •   Chemtronics Inc. v. Northrop Grumman Systems Corp.
       and analytic methods to understand and interpret
       contaminant characterization, transport, and fate for a range               American Arbitration Association Arbitration. Case No.
       of applications. By employing multiple lines of scientific                  01-17-0007-1884. Expert Report. Rebuttal Report
       evidence through analyses that couple field measurements,               •   Von Duprin LLC v. Moran Electric Service, Inc. Major
       fate    and     transport    calculations,     and  historical              Holdings, LLC, Major Tool and Machine, Inc., and
       operations/documents, he provides internally consistent                     Zimmer Paper Products Incorporated. United States
       opinions and results. Dr. Love is experienced at creating and               District Court Southern District of Indiana, Indianapolis
       evaluating Site Conceptual Models based on an understanding                 Division. Case No. 1:16-CV-01942-TWP-DML.
       of environmental and engineered systems that involve a wide                 Deposition June 7, 2018. Expert Report. Expert
       range of matrices (i.e. soils, sorbents, air, natural waters,               Declaration
       constructed materials, and biological tissue).
                                                                               •   Siltronic Corporation v. Employers Insurance Company
       CREDENTIALS                                                                 of Wausau et al. United States District Court, Central
       Post Doctorate, Forensic Science Center, Lawrence                           District of Oregon. Case No. 3:11-cv-01493-BR.
            Livermore National Laboratory, 2004;                                   Deposition May 24, 2018. Expert Report.
       Ph.D., Environmental Engineering, University of California
            at Berkeley, Berkeley, CA, 2002;                                   •   Arrow Electronics, Inc. v. Aetna Casualty & Surety Co., et
       M.S., Material Science and Mineral Engineering -                            al. United States District Court, Central District of
            Hydrogeology, University of California at Berkeley,                    California. Case No. 2:17-cv-05247-JFW-JEM. Expert
            Berkeley, CA, 1998; and,                                               Report. Rebuttal Report.
       B.A., Geoscience, Franklin & Marshall College, Lancaster,               •   Power Authority of the State of New York v. The tug
            PA, 1996.                                                              M/V Ellen S. Bouchard, et al. United States District



       10/2018                                         555 12th Street Suite 250 | Oakland CA 94607                                    1 of 7
           EXHIBIT 15                                 Main: (415) 967-6000 | Direct: (415) 967-6023                                      1
                                                  Email: alove@rouxinc.com | Website: www.rouxinc.com
                 Case 2:17-cv-00524-KJM-KJN Document 56 Filed 01/11/19 Page 13 of 18
                                                                                                  Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
           Court, Southern District of New York. Case No. 14-cv-               •     Union Oil Consolidated Coverage Cases, Los Angeles
           4462 (PAC). Deposition May 30, 2018. Expert Report.                       Superior Court. Case No: BC 271474. Deposition
                                                                                     November 20, 2014. Expert Report.
       •   Crown Central, LLC v. Petroleum Marketing Investment
           Group, LLC, et al. Circuit Court for Baltimore County,              •     Donegan v. Stubblefield, Rene C. Davidson Alameda
           Maryland. Case No. 03-C-16-010774 CN. Deposition                          County Courthouse. RG12628426. Deposition July 26,
           December 19, 2017. Expert Declaration. Rebuttal                           2013. Trial August 8, 2013.
           Declaration.
                                                                               •     Searles Valley Minerals Operations Inc. v. Advanced Steel
       •   Sunflower Redevelopment, LLC v. Illinois Union                            Recovery Inc., et al., California Ninth District. Central
           Insurance Company. United States District Court,                          District Court. 5:2010cv01403. Deposition January 25,
           Western District of Missouri, Western Division. Case No.                  2012. Expert Report. Rebuttal Report.
           4:15-cv-00577-DGK. Deposition November 10, 2017.
           Rebuttal Report. Supplemental Report.                               EXAMPLE PROJECTS
                                                                               Sediment Contamination Reconstruction
       •   Gary Puhr v. PQ Corporation. United States District                  Fox River Superfund Site, WI – Expert Witness. Prepared an
           Court, Northern District of Illinois, Eastern Division.              Expert Report evaluating the technical bases for a range
           Case No. 16-CV-00728. Expert Report.                                 of methodologies used to allocate contribution of
                                                                                polychlorinated biphenyls (PCB) to contaminated
       •   Insurance Company of the State of Pennsylvania v.                    sediments. Performed fate and transport analyses as the
           County of San Bernardino. United States District Court,              basis for allocation to estimate mass contributions from
           Central District of California. Case No. 5:16-cv-00128-              various PRPs.
           PSG-SS. Deposition June 15, 2017. Expert Report.
           Rebuttal Report.                                                        Kalamazoo River Superfund Site, MI – Evaluated the annual
                                                                                   total suspended solid (TSS) discharges from 14 facilities
       •   Lennar Mare Island, LLC v. Steadfast Insurance                          to the Kalamazoo River sediments over the 25+ year
           Company. United States District Court, Eastern District                 relevant period of applicable discharges. Allocated TSS
           of California, Sacramento Division. Case No. 2:12-cv-                   discharges to generator facility when secondary facility
           02182-KJM-KJN.        Case     No.2:16-cv-00291-KJM-                    was used for wastewater treatment. Evaluated changes in
           CKD860. Deposition May 26, 2017. Expert Report.                         facility TSS treatment efficiency and relative TSS
           Supplemental Report.                                                    contributions throughout the relevant period.
       •   Hanford Challenge, et al., v. Ernest Moniz, et al. United               Passaic River (Diamond Alkali) Superfund Site, NJ – Expert
           States District Court, Eastern District of Washington.                  Witness. Evaluated available historical data, performed fate
           Case No. 4:15-CV-05086-TOR. Expert Declaration.                         and transport analyses, and developed a detailed
           Supplemental Expert Declaration.                                        understanding of facility operations to support the facility
       •   K.C. Jones Plating Company, et al., v. Admiral Insurance                designation of de minimis status.
           Company. United States District Court, Eastern District                 Gowanus Canal Superfund Site, NY – Expert Witness.
           of Michigan, Southern Division. Case No. 2:16-cv-10790-                 Evaluated available historical data, performed fate and
           DML-MKM. Expert Report.                                                 transport analyses, and developed a detailed
       •   860 Kaiser, LLC v. Greene’s Cleaners, Inc., Napa County                 understanding of facility operations to support the facility
           Superior Court. Case No: 26-63995. Deposition January                   designation of de minimis status.
           11, 2016, September 12, 2016. September 26, 2016.                       San Diego Harbor, CA – Expert Witness. Evaluated available
           Expert Declaration.                                                     historical data, performed fate and transport analyses, and
       •   Lewis v. Russell, United States District Court, Eastern                 developed a detailed understanding of facility operations
           District of California. Case No. CIV. S-03-02646 WBS                    to support an Expert Report that evaluated potential
           AC. Deposition July 20, 2016. Expert Report. Rebuttal                   metals, PCBs, and petroleum releases from the Silvergate
           Report. Supplemental Report.                                            Power Plant.
       •   Goldberg v. Goss-Jewett Company, Inc., et al., United                   San Francisco Bay, CA – Collected sediment cores from
           States District Court, Central District of California. Case             Naval Air Station Alameda and performed isotopic and
           No. EDCV14-01872 DSF (AFMx). Deposition May 25,                         chemical analyses that enabled reconstruction of historical
           2016. Expert Report. Rebuttal Report.                                   sediment contamination.
       •   937 York Road, LLC, et al. v. Petroleum Marketing                   Petroleum
           Group, Inc., et al., Circuit Court for Baltimore County,             Petroleum Transfer Facility, CA – Expert Witness. Prepared an
           Maryland. Case No. 03-C-14-005988. Expert Declaration.               Expert Report assessing the release of gasoline, diesel fuel,
                                                                                and crude oil over 50+ years into the soil and sediment of
       •   State of Colorado, et al., v. Valero Energy Corporation, et          Avila Beach, CA. Identified the source and timing of the
           al., District Court, City and County of Denver, Colorado.            historical contamination and the nature of the releases
           Expert Report. Rebuttal Report.                                      using multiple lines of scientific forensic techniques.
                                                                                Performed fate, transport and degradation analysis of
                                                                                gasoline, diesel fuel, and crude oil to determine the



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PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
        divisibility of “sudden and accidental” releases from                     that provide the technical basis for assessing contribution
        frequent releases related to facility operations.                         of PCE, TCE, and TCA from various operations.
                                                                                  Transportation Spill, CA. – Expert Witness. Prepared an
        Retail Gasoline Stations, CO – Expert Witness. Performed                  Expert Report evaluating the potential ecological impact
        fate, transport and degradation analysis of gasoline to                   of an ink spill into a local river.
        determine the timing of gasoline releases. Prepared an
        Expert Report regarding the release of gasoline from 80+                  Former Military Facility, CA. – Performed site investigation
        fueling facilities throughout the state.                                  of soil and groundwater at a former military site to
                                                                                  determine the extent and magnitude of historical solvents
        Crude Oil Refinery, CA – Expert Witness. Performed                        and petroleum releases in order to inform remedial
        evaluation of timing of release and source of                             strategy. Obtained regulatory closure under low-threat
        contamination related to historical refinery operations.                  closure criteria.
        Used Oil System Collection and Recycling, CA – Expert Witness.           Drycleaners
        Developed a report for the State of California on how to                  Santa Barbara, CA – Expert Witness. Prepared an Expert
        improve the state’s used oil recycling program. Provided                  Report assessing sources of PCE contamination to soil
        testimony to CA State legislature on proposed used oil                    and groundwater contamination, including drycleaner
        recycling incentive bills. Key technical contributor to                   discharges into sewer system and releases at adjacent sites.
        stakeholder discussion on ongoing CalRecycle efforts for                  Rebuttal Expert Report also assessed the expected
        additional used oil recycling improvement.                                remedial costs for PCE contamination at and emanating
        Retail Gasoline Station, MD – Expert Witness. Performed                   from the site.
        evaluation of timing of release and source of                             San Jose, CA– Expert Witness. Prepared an Expert
        contamination impacting nearby groundwater. Evaluated                     Declaration regarding the potential sources of PCE
        contaminant contributions from adjacent property and                      contamination to soil and groundwater contamination
        both current and former owner/operator.                                   and the divisibility of the contamination from the
        Underground Fuel Oil Tank, NY – Expert Witness. Performed                 potential sources.
        evaluation of timing of release and source of                             Napa, CA – Expert Witness. Prepared an Expert
        contamination for fuel oil impacting groundwater.                         Declaration regarding the potential sources of PCE
        Timing of Petroleum Release, Numerous States – Performed                  contamination to soil and groundwater contamination.
        fate, transport and degradation analysis of gasoline and                  Davis, CA – Expert Witness. Prepared an Expert Report
        fuel oil to determine the timing of releases at 200+                      regarding the potential sources of PCE contamination of
        gasoline station and fuel oil sites related to environmental              groundwater.
        insurance claims.
                                                                                  Numerous Sites, USA – Evaluation of the source, timing,
       Industrial                                                                 and/or contribution from multiple PRPs to comingled
        Manufacturing Facilities, CA – Provided litigation support                PCE plumes from drycleaner sites related to
        based on fate and transport analysis related to timing of                 environmental insurance claims.
        groundwater contamination resulting from multiple
        potential PCE, TCE, TCA and 1,4-dioxane releases to                      Landfills
        groundwater managed by Orange County Water District.                      Groundwater solvent plume, CA – Expert Witness. Evaluated
        Additional chemical fingerprinting analysis was                           the available operation information, site investigation
        performed to distinguish on-site versus off-site                          data, and performed fate and transport analysis to
        contributions of chlorinated solvents and their                           determine the source, timing, and number of release
        degradation products to the associated groundwater                        events at landfill operating for over 50 years.
        plumes.
                                                                                  Multi-COC Contamination, NJ – Evaluated the available
        Industrial Facility, AZ – Expert Witness. Provided litigation             operation information, site investigation data, and
        support based on fate and transport analysis related to                   performed fate and transport analysis to determine the
        source and timing of groundwater contamination                            divisibility of the COC contamination among PRPs.
        resulting from potential PCE, TCE, and TCA sources.
                                                                                  Multi-COC Contamination, WA – Evaluated the available
        Former Military Facility, CA. – Expert Witness. Evaluated                 operation information, site investigation data, and
        claimed cleanup actions and costs related to site                         performed fate and transport analysis to determine the
        investigation and remediation of a former military site.                  divisibility of the COC contamination among PRPs.
        Former Military Facility, KS. – Expert Witness. Evaluated                Heavy Metals
        claimed cleanup actions and costs related to site                         Battery Recycling Facility, CA – Expert Witness. Evaluated
        investigation and remediation of a former military site.                  available historical emissions/capacity data, performed
                                                                                  fate and transport analyses, and assessed the extent and
        Aerospace Facility, CA. – Expert Witness. Evaluated available             magnitude of lead and other heavy metals contamination
        historical data, performed fate and transport analyses, and               in soils surrounding the Exide Technologies lead battery
        developed a detailed understanding of facility operations                 recycling facility. Worked together with lead regulatory



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                                                                                                Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
        agency to develop interior/exterior assessment and                       atrazine, timing of release, and potential impacts to
        remediation protocols. Analyzed reported results of                      drinking water sources.
        community blood lead data.
                                                                                 Glyphosate, Oakland, CA – Provided deposition and trial
        Steel Manufacturing Facility, CA – Expert Witness. Evaluated             testimony regarding the source of glyphosate
        available historical operations, soil lead and arsenic data,             contamination causing property damage on an adjacent
        and chemical signatures of steel manufacturing from soils                parcel of land based on atmospheric transport, technology
        within and adjacent to the historic steel manufacturing                  dispersal capability, site conditions, and impact patterns
        facility.                                                                on parcel.
        Facility and Regulatory Assessments of Hexavalent Chromium,              Trichloropropane (1,2,3-TCP), CA – Evaluated potential
        CA- Evaluated how changes in regulatory rules and                        sources of trichloropropane groundwater contamination
        enforcement would impact facilities in Los Angeles                       in drinking water wells.
        County. Created inventory of facilities in LA County that
        emitted hexavalent chromium. Evaluated alternative                      Human Exposure Assessment
        technology to using hexavalent chromium for metal                        Chemical Vapor Exposure, WA – Expert Witness. Evaluated
        plating.                                                                 the source of chemical vapors and the potential for
                                                                                 downwind vapor exposure to workers.
        Metal Recycling Facility, CA – Assessed facility compliance
        with DTSC hazardous waste regulations. Negotiated with                   School District Astroturf, CA – Collected astroturf samples
        DTSC on behalf of client. Developed plan for hazardous                   and conducted consumer product testing to provide data
        waste treatment/disposal that meets DTSC requirements.                   which supported the assessment of potential exposure
                                                                                 pathways and human health risk assessment for children,
        Mixed Industrial Region, IN – Evaluated historical                       workers, and recreational users.
        operations, soil lead and arsenic data, and chemical
        signatures of potential industrial sources with locations on             Caustic Liquid Exposure, MI – Evaluated potential sources
        and adjacent to the historic industrial manufacturing                    of caustic chemical liquids that resulted in worker skin
        facilities.                                                              burns.

        Metal Plating Facility, IN – Expert Witness. Prepared an                 Proposition 65 Phthalates, CA – Collected consumer product
        Expert Report regarding the evaluation of a claimed                      samples and conducted consumer product testing to
        environmental release and associated costs that occurred                 determine potential consumer exposure pathways and
        during an electrical fire at a metal plating facility.                   magnitude.

        Mineral Processing Facility, CA – Expert Witness. Prepared an            Proposition 65 Heavy Metals, CA – Evaluated lead data and
        Expert Report regarding the contribution of an accidental                developed a testing and evaluation plan to determine
        elemental mercury spill at the Searles Valley Minerals                   levels of naturally occurring metals in identified food
        Operations Inc. site to the overall historic site                        products.
        contamination. Analyzed invoices and categorized                        Explosive and Fire Assessment
        cleanup costs into emergency spill costs vs. soil                        Forensic Explosive Evaluation, CA – Expert Witness.
        remediation activities.                                                  Collected field samples and evaluated chemical and
       Radionuclides                                                             operational information to determine the likely cause of
        Radionuclide-containing Products Manufacturing, PA – Expert              an explosion event at an industrial facility.
        Witness. Evaluated available historical data, performed fate             Forensic Deflagration Evaluation, CA – Expert Witness.
        and transport analyses, and developed a detailed                         Evaluated field reports, inventory, and operational
        understanding of facility operations at the Safety Light                 information to determine the likely contributing causes of
        Superfund Site that provided the technical basis for                     a deflagration event that occurred in a transportation
        recommendations to DOJ on a feasible strategy for and                    vehicle.
        potential allocation of arranger liability. Site contaminated
        with numerous radionuclides (tritium [H-3], strontium                   ADDITIONAL AREAS OF EXPERTISE AND EXPERIENCE
        [Sr-90], cesium [Cs-137], and radium [Ra-226]).                         Weapons of Mass Destruction Preparation and
                                                                                Response
        Release of Radionuclides from Testing Equipment, OK –                    Provide technical guidance and operational plan reviews
        Evaluated whether the response actions taken were                        for responding to WMD events. Technical guidance
        reasonable and necessary related to the investigation and                includes emergency response, site characterization, WMD
        remediation of a cesium [Cs-137] release.                                forensics, site remediation, fate and transport, site closure.
        Radionuclide Labeling Facility, CA – Sampled tree rings in               Co-led team in development of DHS/EPA Federal facility
        the vicinity of a Lawrence Berkeley National Laboratory                  restoration guidance document for critical infrastructure.
        stack that emitted tritium [H-3] and analyzed tree rings in             Development of Chemical/Isotopic Signatures/
        order to reconstruct facility emission for >50 years.                   Fingerprints
       Pesticides                                                                Develop and validate new chemical/isotopic fingerprint
        Atrazine, Numerous locations in USA – Provided expert                    strategies as well-as utilize peer-reviewed techniques.
        litigation support regarding the fate and transport of                   Experienced with numerous approaches: intended



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                                                                                                Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
        chemical markers and additives, chemical component                           piezoresistive microcantilevers. The Analyst. 133(5): 608
        ratios, degradation analysis, isotope analysis, biomarkers,                  – 615.
        isomers/congener analysis.
                                                                                 Love, A.H., M.L. Hanna, P.R. Coronado, J.G. Reynolds
       Chemical Fate and Transport Modeling                                         (2005) Engineering surface functions groups on silica
        Conducts analyses using a variety of industry-accepted                      aerogel for enhanced cleanup of organics from
        approaches, including analytic solutions and numerical                      produced water. Separation Science. 40:311-320.
        models MODFLOW, MT3D, HYDRUS, BIOCHLOR,
        CAMEO/ALOHA, CALPUFF, HPAC.                 Determines                   Love, A.H., Vance, A.L., Reynolds, J.G., Davisson, M.L.
        aqueous and/or atmospheric plume migration exposure                         (2004) Investigating the affinities and persistence of
        duration and magnitude.                                                     VX nerve agent in environmental matrices.
                                                                                    Chemosphere. 57: 1257-1264.
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       Environmental Forensics                                                  Weapons of Mass Destruction Preparation and
                                                                                Response
        Love, A.H. and Zdon, A. (2018) Use of Radiocarbon Ages to
           Narrow Groundwater Recharge Estimates in the                          Campell, C.G.; Kirvel, R.D.; Love, A.H.; Raber, E. (2012)
           Southeastern Mojave Desert, USA. Hydrology. 5(3):51.                     Decontamination After a Release of B. anthracis
                                                                                    Spores. Biosecurity and bioterrorism: biodefense strategy,
        Zdon, A.; Davisson, M.L.; Love, A.H. (2018)                                 practice, and science 10(1):108-22.
           Understanding the source of water for selected springs
           within Mojave Trails National Monument, California.                   Love, A.H.; Bailey, C.G.; Hanna, M.L.; Hok, S; Vu, A.K.;
           Environmental Forensics. 19(2), 99-111.                                  Reutter, D.J.; Raber, E. (2011) Efficacy of Liquid and
                                                                                    Foam Decontamination Techniques for Chemical
        Dorrance, L.R.; Kellogg, S.; Love, A.H. (2017) What You                     Warfare Agents on Indoor Surfaces. J. Hazardous
          Should Know About Per- and Polyfluoroalkyl                                Materials. 196; 115–122.
          Substances (PFAS) for Environmental Claims.
          Environmental Claims Journal, 29:4, 290-304.                           Watson, A; Hall, L; Raber, E; Hauschild, V.D.;
                                                                                   Dolislagerd, F.; Love, A.H.; Hanna, M.L. (2011)
        Shelley, T.M.; Love, A.H. (2015) A Question of Proof:                      Developing Health-Based Pre-Planning Clearance
           Using Isotope Analysis and Chemical Fingerprinting                      Goals for Airport Remediation Following Chemical
           to Identify the Source of Contamination. Environmental                  Terrorist Attack: Introduction and Key Assessment
           Claims Journal, 27:3, 264-275.                                          Considerations. Human and Ecological Risk Assessment:
        Zdon, A.; Davisson, M.L.; Love, A.H. (2015) Testing the                    An International Journal, 17(1): 2 – 56.
           Established Hydrogeologic Model of Source Water to                    Watson, A; Dolislagerd, F.; Raber, E; Hall, L; Hauschild,
           the Amargosa River Basin, Inyo and San Bernardino                       V.D.; Love, A.H. (2011) Developing Health-Based
           Counties, California. Environmental Forensics. 16(4).                   Pre-Planning Clearance Goals for Airport
        Love, A.H., J.R. Hunt, J.P. Knezovich. (2004) Improving                    Remediation Following a Chemical Terrorist Attack:
           Tritium Exposure Reconstructions Using Accelerator                      Decision Criteria for Multipathway Exposure Routes.
           Mass Spectrometry. Analytical and Bioanalytical                         Human and Ecological Risk Assessment: An International
           Chemistry. 379(2): 198-203.                                             Journal, 17(1) : 57 – 121.
        Love, A.H., B.K. Esser, J.R. Hunt. (2003) Reconstructing                 Campbell C.J., Love A.H. (2008) Monitoring Water
           Contaminant Deposition in a San Francisco Bay                           Resources for Threats to Water Security. New Topics in
           Marina. Journal of Environmental Engineering. 129 (7):659.              Water Resources Research and Management. Henrik M.
                                                                                   Andreassen (Ed.). Nova Science Publishers, Inc. pp.
        Love, A.H., J.R. Hunt, J.P. Knezovich. (2003) Use of                       195-235.
           Carbon-14 and Tritium in Tree Rings to Reconstruct
           Tritium Exposure at Lawrence Berkeley National                        Ramkumar, S.; Love, A.H.; Sata, U.R.; Kendall, R.J. (2008)
           Laboratory. Environmental Science and Technology. 37 (19):               Next-Generation Nonparticulate Dry Nonwoven Pad
           4330.                                                                    for Chemical Warfare Agent Decontamination. Ind.
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        Kuo, I-Feng; Grant, C.; Gee, R.; Chinn, S.; Love, A.H.                  Other Publications
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          Degradation The Journal of Physical Chemistry C. 116 (17),                Uncertainty with Unregulated Contaminants.
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                                                                                    Litigation Committee Newsletter. Spring 2018. 2(3):9-
        Love, A.H. (2008) Determining Important Parameters                          16.
           Related to Cyanobacterial Alkaloid Toxin Exposure.
           Advances in Experimental Medicine and Biology. Hudnell,               Baumann, J.; Oliver, D.H.; Dorrance, L.R; Love, A.H.
           H. Kenneth (Ed.). 619:453-464.                                           (2018): Approaches to Reduce Conflict when Insuring
                                                                                    the Environmental Cleanup of Closed Military Bases
        Loui, A., Ratto, T.V., Wilson, T.S., McCall, S.K., Mukerjee,                Intended for Redevelopment, Environmental Claims
           E.V., Love, A.H., Hart, B.R. (2008) Chemical vapor                       Journal
           discrimination using a compact and low-power array of



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                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
        M.R. Johnson, J.G. Reynolds, Love, A.H. (2008)                                Conference on Soil, Water, Energy, and Air, Forensics
           Improving Used Oil Recycling in California. Contractor                     Section. March 2013.
           Report to the California Integrated Waste Management Board.
           California Environmental Protection Agency. May                        Love, A.H. (2013) Testing the Established Regional
           2008. Publication #610-08-008.                                            Hydrologic Conceptual Model in the Amargosa River
                                                                                     Basin, California and Nevada. National and International
        Vogel, J.; Love, A.H. (2005) Quantitating Isotopic                           Conference on Groundwater. April 2013.
           Molecular    Labels     with    Accelerator     Mass
           Spectrometry. Methods in Enzymology 402:402-22.                       Contaminant Fate and Transport
                                                                                  Love, A.H.; Newman, R.G.; Kinslow, C.J.; Vaughn, K.
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           Love, A.H. (2002) Sample Preparation for                                  to Frequent Headliner. Environmental Risk &
           Quantitation of Tritium by Accelerator Mass                               Litigation Conference. June 12, 2018.
           Spectrometry. Analytical Chemistry 74(24):6285-90.
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        Roberts, M.L.; Hamm, R.W.; Dingley, K.H.; Love, A.H.                         Worry? Environmental Reopeners. DRI Toxic Tort
           (2000) A compact tritium AMS system. Nuclear                              and Environmental Law Seminar. March 1, 2018.
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           Interactions with Materials and Atoms 172(1-4):262-267.                Love, A.H.; Smith, S.E.; Slaughter, J.B.; Connor, P.;
                                                                                     Scarcella, M. (2017) Defending Lead Cases: Strategies
       SELECTED CONFERENCE PRESENTATIONS                                             and Tactics for a Trending Toxic Tort. DRI Webinar.
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        Dorrance, L.; Love, A.H.; (2018) Outlook of
           Environmental Forensics in Distinguishing Sources of                   Love, A.H.; Hunter, C.; London, M.A.; Swetman, M.
           Perfluoroalkyl and Polyfluoroalkyl Substances.                            (2017) Perfluorinated Chemicals - The Science and Law
           Emerging Contaminants Summit 2018. March 2018                             Behind PFOA. Environmental Risk & Litigation
                                                                                     Conference. June 20, 2017.
        Dorrance, L.; Love, A.H.; (2018) Metals Forensics at Ghost
          Factories. AEHS 28th Annual International                               Love, A.H.; Smith, S.E.; Connor, P.; Scarcella, M.; Kelso,
          Conference on Soil, Water, Energy, and Air, Forensics                      P. Get the Lead out! Proactive Risk Measures in
          Section. March 2018                                                        Response to America’s Environmental Crisis. 2017
                                                                                     EECMA Conference. April 2017.
        Love, A.H.; Dorrance, L. (2017) Current Limitations and
           Outlook of Environmental Forensics for PFOS, PFOA                      Edlin, N.; Love, A.H. (2016) Did Law Kill Science?
           and Related Perfluoroalkyl and Polyfluoroalkyl                            Understanding the Impact of Davis v. Honeywell and
           Substances. AEHS 27th Annual International                                the “One Fiber Theory” on Asbestos and
           Conference on Soil, Water, Energy, and Air, Forensics                     Environmental Cases. FETTI Conference. September
           Section. March 2017.                                                      2016.

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           Forensic Techniques to Sediment Sites Throughout the                      the perfect the enemy of the good? The 2010
           US. AEHS 26th Annual International Conference on                          Chemical and Biological Defense Science and
           Soil, Water, Energy, and Air, Forensics Section. March                    Technology Conference. Orlando, Florida. 15-19
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           Conference on Soil, Water, Energy, and Air, Forensics                     Environmental Fate to Optimize Remediation for
           Section. March 2015.                                                      Indoor Facilities.” 2007 EPA Decontamination
                                                                                     Workshop.         Durham,          North       Carolina,
        Love, A.H, Brown, C. (2014) Robust Data Analysis for                         June 20-22, 2007.
           Utilizing Chemical Data for Forensic Applications.
           AEHS 24th Annual International Conference on Soil,                     Love, A.H., Koester, C.J., Alcaraz, A., Hanna, M.L., Ho, P.,
           Water, Energy, and Air, Forensics Section. March 2014.                    Reynolds, J.G., Raber, E. (2007) “Determining CWA
                                                                                     Environmental Fate to Optimize Remediation for
        Love, A.H. (2014) Incorporating Environmental Lines of                       Indoor Facilities.” 6th DHS Conference on Chemical
           Evidence into Nuclear & Criminal Forensics.                               and Biological Technologies: Food Protection,
           Conference on Application of Accelerators in Research                     Restoration, and Architecture Studies. Madison
           and Industry (CAARI). May 2014                                            Wisconsin, June 5-8, 2007.
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           Analysis to Prove Contamination Source. FETTI                             Enhancing Response Capability” LLNL Educational
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                                                                                              Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
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        Love, A.H. (2005) Determining Important Parameters                    Other Presentations
           Related to Cyanobacterial Alkaloid Toxin Exposure.                  Love, A.H.; Singarella, P.; Tai, S.; Wiseman, H. (2018)
           International Symposium on Cyanobacterial Harmful                      Science on Trial: Is It Legally Honest?. American Bar
           Algal Blooms (ISOC-HAB). U.S. Environmental                            Association Section of Environmental, Energy, and
           Protection Agency. Durham, North Carolina. Sept 6-8,                   Resources. 47th Spring Conference. April 20, 2018.
           2005.
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